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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           Case No. 03-80504

               Plaintiff,                           HONORABLE ARTHUR J. TARNOW
                                                    SENIOR UNITED STATES DISTRICT JUDGE
v

KYLE E. DRESBACH,

               Defendant.
                                            /


      ORDER DENYING DEFENDANT’S MOTION FOR A REDUCTION IN SENTENCE [313]

       Before the Court is Defendant’s Motion for a Reduction in Sentence [313].

       In conducting its review of this matter, the Court has been concerned with whether the

Bureau of Prisons exercised the discretion it possesses and considered reasons other than

Defendant’s own medical condition in determining whether Defendant was entitled to

compassionate release.

       Upon review of the record, the Court concludes that the Bureau of Prisons did exercise its

discretion and considered the reasons Defendant offered in support of his request for

compassionate release that pertained to issues other than his own medical condition. The BOP

offered a reasonable basis for the denial of Defendant’s request. Defendant’s motion must

therefore be denied.

       Defendant will be eligible for home confinement on February 9, 2012. See [328], Exhibit

1. He now, through counsel, moves this Court to reduce his sentence based not on his own

condition but on the medical condition of both his wife and daughter.

       Under 18 U.S.C. §3582(c)(1)(A), “The court may not modify a term of imprisonment


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once it has been imposed except that– in any case-- the court, upon motion of the Director of the

Bureau of Prisons, may reduce the term of imprisonment... if it finds that– i) extraordinary and

compelling reasons warrant such a reduction....” (emphasis added).

       Here, the BOP has not filed any such motion. Nevertheless, Defendant asserts, “Because

the BOP has violated the law in its refusal to consider factors other than [Defendant’s own]

terminal illness, this Court should invalidate its administrative rules and exercise its jurisdiction

to consider a sentencing reduction even though no motion has been filed by the Bureau of

Prisons.” [313] at 3.

       What specific reasons may be deemed sufficiently “extraordinary and compelling” to

warrant a reduction in sentence are not defined in the statute.

       Under the regulations, “[a]n inmate may initiate a request for consideration under...

3582(c)(1)(A) only when there are particularly extraordinary or compelling circumstances which

could not reasonably have been foreseen by the court at the time of sentencing.” 28 C.F.R.

571.61.

       The Sentencing Commission has indicated three examples of what could constitute

“extraordinary and compelling” reasons:

               (i) The defendant is suffering from a mental illness. (ii) The defendant is
               suffering from a permanent physical or medical condition, or is experiencing
               deteriorating physical or mental health because of the aging process, that
               substantially diminishes the ability of the defendant to provide self-care within
               the environment of a correctional facility and for which conventional treatment
               promises no substantial improvement. (iii) The death or incapacitation of the
               defendant’s only family member capable of caring for the defendant’s minor child
               or minor children.

U.S.S.G. §1B1.13 (App. Note 1). Additionally, the guideline includes a fourth provision, which

is a catch-all that allows for compassionate release if, “[a]s determined by the Director of the

Bureau of Prison, there exists in the defendant’s case an extraordinary and compelling reason


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other than, or in combination with, the reasons described in...” the three examples cited above.

Id.

       Thus, the clear language of the Application Note of §1B1.13 permits compassionate

release for not just medical reasons of a defendant, but for other reasons as well.

        Under 28 C.F.R. §571.62, “The Bureau of Prisons makes a motion under...

3582(c)(1)(A) only after review of the request by the Warden, the Regional Director, the General

Counsel, and either the Medical Director for medical referrals or the Assistant Director,

Correctional Programs Division for non-medical referrals, and with the approval of the Director,

Bureau of Prisons” (emphasis added). Thus, in addition to the Sentencing Guideline, federal

regulations also acknowledge that compassionate release may be based on both medical and non-

medical reasons. Moreover, the government submitted a 1998 Program Statement from the

Director of the BOP concerning compassionate release that references the above regulation, thus

again acknowledging that non-medical reasons may be considered in determining whether to

grant a compassionate release. [314], Exhibit B.

       In the government’s response to Defendant’s motion, it acknowledged, consistent with

the above authority, that the BOP allows for both medical and non-medical conditions of the

inmate to be considered as a basis for compassionate release. See [314] at 9-10.

       At the hearing held on Nov. 11, 2010, counsel for the government informed the Court

that he consulted with the General Counsel’s office of the BOP prior to the hearing and that it

was “their understanding of their authority... that it allows for both tracks. That is a non-medical

track and a medical track for inmates. And that they believe the BOP’s ultimate decision... did

consider his wife’s condition... when it described [how] ordinarily we consider only the inmate’s

medical condition, the extraordinary case, as to the statute, would allow us to consider others.”

       After further briefing on Defendant’s motion was submitted following the hearing, the

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Court issued an order [321] on April 8, 2011 directing the government to provide additional

evidence at a hearing “to address the rationale for denying Defendant’s request for

compassionate release.” The Court indicated that it was “interested in what factors were

considered in Dresbach’s specific case in denying his request.” Although counsel for the

government indicated at the hearing that the BOP did consider both medical and non-medical

reasons for compassionate release in Dresbach’s case, the Court concluded that evidence in the

record was unclear on that point.

       Subsequently, the government filed a Motion to Continue Hearing [324] on April 29,

2011 asking that the hearing be adjourned. The motion indicated that the Director of the BOP

was going to conduct a de novo review of Dresbach’s request for compassionate release and that

Dresbach could supplement his previous request for compassionate release with additional

information. The motion noted that Dresbach’s counsel concurred in an adjournment of the

hearing.

       On May 9, 2011, the Court entered an order [325] granting the government’s unopposed

motion.

       Ultimately, on June 7, 2011, the Acting Director of the BOP issued a letter denying

Dresbach’s request. The parties then submitted supplemental briefing addressing the denial.

       The denial letter demonstrates to the Court that the BOP properly exercised its discretion

in Dresbach’s case and considered non-medical reasons of third parties in making its

determination whether compassionate release was appropriate. Nowhere does the letter state that

only medical reasons of a defendant can be considered in reviewing a request for compassionate

release in any case or that only medical reasons of the defendant were considered in this case.

Rather, the denial letter from the Acting Director of the BOP, see [328], Exhibit 1, indicates that

the BOP has “carefully reviewed the specific facts and circumstances of Mr. Dresbach’s case, in

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light of the statute, policy, and guidelines.” Id. (emphasis added). The letter then examines the

specific facts of Dresbach’s case, taking into account the non-medical grounds Defendants

offered as a basis for his request. The letter concludes:

                 These decisions are always difficult. Mr. Dresbach’s family circumstances are
                 indeed serious, and his imprisonment is a hardship for his family. Further, the
                 family situation causes considerable stress and anxiety for Mr. Dresbach because
                 he is unavailable to provide care and comfort for his wife and daughter.
                 However, the court was aware of the developing medical conditions of Mrs.
                 Dresbach and their daughter at the time of sentencing. In my experience, it is not
                 uncommon that families in the community face similar issues. Further, the
                 Presentence Investigation Report notes that there are other adult children of Mr.
                 and Mrs. Dresbach who could offer assistance in this case. Finally, I again note
                 that Mr. Dresbach will presumably be eligible for home confinement in February
                 of 2012, and release in August of 2012. Therefore, while I find Mrs. Dresbach’s
                 family situation most unfortunate, and I can empathize with his circumstances, I
                 cannot concludes that his circumstances are so extraordinary and compelling as to
                 warrant a RIS.

Id. (emphasis added).

          Thus, the letter makes clear that the reasons Defendant offered that went beyond his own

medical condition were considered and rejected. Defendant maintains that the letter was written

in bad faith but there is no evidence demonstrating that. Defendant is undoubtedly displeased

with the BOP’s determination, but displeasure is not a sufficient ground for concluding that the

review the Acting Director conducted, which counsel did not object to prior to the review being

performed, was done in bad faith.1

          Because the BOP has properly exercised its discretion in reviewing Defendant’s specific

request and offered a reasonable basis for its denial of that request, Defendant’s motion must be

denied.


          1
         The Court notes that even if the Acting Director did not perform the review but instead
had either the warden or Regional Director or General Counsel conduct it, he still would have to
approve their recommendation regarding compassionate release if they made the decision that
compassionate release was warranted. Nevertheless, counsel for Defendant did not raise any
concerns about who would conduct the review prior to the review being completed.

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       The Sixth Circuit has held:

               An agency is not entitled to deference simply because it is an agency. It is true
               that agencies are more specialized than courts are. But for courts to defer to
               them, agencies must do more than announce the fact of their comparative
               advantage; they must actually use it. And that means, among many other things,
               that the agency must apply– rather than disregard– the relevant statutory and
               regulatory criteria.

Meister v. U.S. Dept. of Agriculture, 623 F.3d 363, 367 (6th Cir. 2010).

       The statutory law and regulations discussed above demonstrate that the BOP has within

its discretion the authority to consider reasons other than a defendant’s own medical condition in

determining whether compassionate release is warranted. Counsel for the government has made

clear on the record in this matter that the BOP does exercise its discretion and recognizes both

medical and non-medical reasons as grounds for compassionate release. The review conducted

in Defendant’s case took into account non-medical reasons as permitted under the law, even if

the BOP ultimately concluded that based on the facts of this specific case, compassionate release

was not warranted. The Court anticipates that absent a change in the law, the BOP will continue

to abide by the statute and regulations cited above and take into account reasons other than a

defendant’s own medical condition in reviewing future requests for compassionate release.

       Accordingly, based on the above discussion,2

       IT IS HEREBY ORDERED that Defendant’s Motion for Reduction in Sentence [313]

is DENIED.




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          The court declines to address any additional arguments raised in the government’s
filings as to why this matter should be dismissed

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SO ORDERED.




                                                    s/Arthur J. Tarnow
                                                    ARTHUR J. TARNOW
                                                    SENIOR UNITED STATES DISTRICT
                                                    JUDGE

I certify that a copy of the forgoing document was sent to parties of record on August 30, 2011
by U.S./electronic mail.


                                                    s/Michael Williams
                                                    Relief Case Manager for the
                                                    Honorable Arthur J. Tarnow




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